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                          UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

  TOYA GREEN-MOBLEY,

                 Plaintiff,

  v.                                                  CASE NO: 3:17-cv-764-J-34JBT

  CAPITAL ONE AUTO FINANCE, INC.,

                 Defendant.

                              NOTICE OF PENDING SETTLEMENT

        Plaintiff, TOYA GREEN-MOBLEY, pursuant to M.D. Fla. Local Rule 3.08, notifies

 the Court that the parties have reached a settlement in this case and are currently finalizing

 the settlement documents. Once complete, the settlement should resolve all issues in this

 action. The parties will file the requisite dismissal documents when settlement is complete.

                                                          Respectfully Submitted,

                                                          DAVIS LAW FIRM

                                                          /s/ Ariel R. Spires
                                                          TODD M. DAVIS, ESQ.
                                                          FL BAR NO. 58470
                                                          TD@DavisPLLC.com
                                                          ARIEL R. SPIRES, ESQ.
                                                          FL BAR NO. 0124523
                                                          aspires@DavisPLLC.com
                                                          231 East Adams Street
                                                          Jacksonville, FL 32202
                                                          904-400-1429 (T)
                                                          904-638-8800 (F)
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 8, 2019, I E-filed this document using the CM/ECF

 system. I further certify that I am not aware of any non-CM/ECF participants.

                                                           /s/ Ariel R. Spires
                                                           ARIEL R. SPIRES, ESQ.




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